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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

In re:                                                      Case No. 6:17-bk-05022-CCJ
                                                            Chapter 13
EARL EUGENE SPATCHER,

Debtor.
________________________________/

RESPONSE TO JPMORGAN CHASE BANK, NATIONAL ASSOCIATION’S MOTION
              FOR RELIEF FROM THE AUTOMATIC STAY
                           [Doc. No. 94]

         COMES NOW, Earl Eugene Spatcher, Debtor, by his undersigned counsel, and in

response to JPMorgan Chase Bank, National Association’s Motion for Relief from the Automatic

Stay [Doc. No. 94], states as follows:

         1. Debtor admits the averments of paragraph 1 of the said Motion.

         2. Debtor admits the averments of paragraph 2 of the said Motion.

         3. Debtor admits the averments of paragraph 3 of the said Motion.

         4. Debtor admits the averments of paragraph 4 of the said Motion.

         5. Debtor admits the averments of paragraph 5 of the said Motion.

         6. Debtor admits the averments of paragraph 6 of the said Motion.

         7. Debtor admits the averments of paragraph 7 of the said Motion.

         8. Debtor admits the averments of paragraph 8 of the said Motion.

         9. Debtor admits the averments of paragraph 9 of the said Motion.

         10. Debtor admits the averments of paragraph 10 of the said Motion.

         11. Debtor denies the averments of paragraph 11 of the said Motion.

         12. Debtor denies the averments of paragraph 12 of the said Motion.
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       13. Debtor opposes the relief requested by JPMorgan Chase Bank, National Association
           (the “Bank”) in paragraph 13 of the said Motion.

       14. Debtor consents to the relief requested by the Bank in paragraph 14 of the said
           Motion.

       15. And further responding to the Bank’s said Motion [Doc. No. 94], the Debtor states as
           follows:

           a. The Debtor is seeking modification of his home mortgage pursuant to the Order
              Directing Mortgage Modification Mediation (Doc. No. 74) on December 20,
              2018.

           b. The Debtor was unable to make the payments required by his confirmed Chapter
              13 Plan, and so an Order dismissing the Debtor’s Chapter 13 case was entered on
              January 16, 2019 (Doc. No. 77).

           c. The Debtor’s Motion for Reconsideration was granted on March 28, 2019 (Doc.
              No. 84).

           d. The Court granted the Debtor’s Ore Tenus Motion to Convert his Chapter 13 case
              to a case under Chapter 7 on April 10, 2019 (Doc. No. 87).

           e. The Debtor continues in good faith to seek modification of his home mortgage
              and is hopeful that the Bank will consider his request for modification favorably.

           f. The Debtor continues to occupy the property as his primary residence, together

              with his family, so that the same are being maintained and protected from

              deterioration.

       WHEREFORE, the Debtor prays that the Court will deny JPMorgan Chase Bank,

National Association’s Motion for Relief from the Automatic Stay and modify or condition the

automatic stay on such terms as to the Court shall seem just and equitable.

                                                    Respectfully submitted,

                                                    /s/ John T. Snow_____________________
                                                    John T. Snow, Esq.
                                                    Attorney for Debtor
                                                    FL Bar #0039685
                                                    390 North Orange Ave., Ste. 2300
                                                    Orlando, FL 32801
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                                                   johnsnow@cfl.rr.com


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Response has been
furnished by United States mail and/or by electronic transmission to the parties listed below on
06/01/2019:
       Trustee: Carla P. Musselman, 1619 Druid Road, Maitland, FL 32751 .
       Debtor: Earl Eugene Spatcher, 7223 White Trillium Cir, Orlando, FL 32818.
       Creditor: JPMorgan Chase Bank, National Association, Chase Records Center, Attn:
Correspondence Mail, Mail Code LA4-5555, 700 Kansas Lane, Monroe, LA 71203.
       Creditor’s Attorney: Taji Foreman, Esq., Kahane & Associates, PA, 8201 Peters Rd., Ste.
3000, Plantation, FL 33324.



                                                   /s/ John T. Snow_____________________
                                                   John T. Snow, Esq.
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